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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   FEDERAL TRADE COMMISSION,

           Plaintiff,                                   Case No. 19 Civ. 25046 (RNS)

   v.

   ON POINT GLOBAL LLC, et al.,

           Defendants.

  UNOPPOSED JOINT MOTION OF DEFENDANT WALTHAM TECHNOLOGIES, LLC
    AND RECEIVER MELANIE DAMIAN TO RELEASE DEFENDANT WALTHAM
                TECHNOLOGIES, LLC FROM RECEIVERSHIP

          Defendant Waltham Technologies, LLC (“Waltham”) and Temporary Receiver Melanie

  Damian (“Receiver”) hereby jointly move this Court for an order modifying the Temporary

  Restraining Order [ECF No. 17] (“TRO”) entered by this Court on December 13, 2019 and

  extended via the entry of the Preliminary Injunction [ECF No. 126] issued on January 14, 2020, to

  release Waltham from receivership:

          1.      The TRO obtained by Plaintiff Federal Trade Commission (“FTC”) directed and

  authorized the Receiver to, inter alia, assume full control of Waltham and its assets.

          2.      To that end, Waltham provided the Receiver with all necessary information to

  effectuate the transfer of control of Waltham and its assets to the Receiver, as required by the TRO

  and Preliminary Injunction.

          3.      Waltham’s lone asset as of the time of the entry of the TRO was $ 1,406.86 located

  in a bank account with Regions Bank (the “Cash”).

          4.      Waltham and the Receiver are not requesting the release from the Receivership

  Estate of the Cash, which shall be paid over to the Receivership Estate, and Waltham shall retain

  any and all of its debts and other liabilities.

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          5.     Rather, Waltham and the Receiver are requesting the release of Waltham from

  receivership such that the Receiver will no longer be directed or authorized to perform the duties

  identified in Paragraph 12 of the TRO and/or Section XII of the Preliminary Injunction, with

  respect to Waltham. While Waltham would of course remain a Defendant and a Corporate

  Defendant in this action, Waltham would no longer be identified as one of the Receivership

  Entities.

          6.     Should the Court grant this Unopposed Joint Motion, Waltham and the Receiver

  propose that Waltham be entitled to choose its own counsel in this matter and manage its own

  affairs, subject to the Preliminary Injunction previously entered by this Court.

                              CERTIFICATION OF CONFERENCE

          Undersigned counsel hereby certify that counsel for the FTC represented to them that the

  FTC does not oppose the relief requested by this Joint Motion.

          WHEREFORE, Defendant Waltham Technologies, LLC and Temporary Receiver Melanie

  Damian respectfully request that this Court enter an order removing Waltham from the

  receivership previously established by this Court.

                                                        Respectfully Submitted,

                                                        McARDLE, PEREZ & FRANCO, P.L.
                                                        Counsel for Arlene Mahon and Waltham
                                                        Technologies, LLC
                                                        255 Alhambra Circle, Suite 925
                                                        Coral Gables, Florida 33134
                                                        Tel: 305-442-2214
                                                        Fax: 305-442-2291
                                                        xfranco@mcper.com
                                                        mmullavey@mcper.com
                                                        docketclerk@mcper.com

                                                By:     /s/ Xavier A. Franco
                                                        Xavier A. Franco, Esq.
                                                        Florida Bar Number: 0031823
                                                        Michael A. Mullavey, Esq.
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                                                     Florida Bar Number: 0124191

                                                     And

                                                     DIFALCO, FERNANDEZ & KAPLAN
                                                     Co-Counsel for Arlene Mahon and Waltham
                                                     Technologies, LLC
                                                     777 Brickell Avenue, Suite 630
                                                     Miami, FL 33131
                                                     Tel: 305-569-9800/Fax: 866-569-0666
                                                     jkaplan@difalcofernandez.com

                                             By:     /s/ Justin B. Kaplan
                                                     Justin B. Kaplan, Esq.
                                                     Florida Bar Number: 33725

                                                     And

                                                     DAMIAN & VALORI, LLP
                                                     Counsel for Melanie E. Damian,
                                                     Court- Appointed Receiver
                                                     1000 Brickell Avenue, Suite 1020
                                                     Miami, Florida 33131
                                                     Telephone: (305) 371-3960
                                                     Facsimile: (305) 371-3965
                                                     E-mail: kmurena@dvllp.com


                                             By:     /s/ Kenneth Dante Murena
                                                     Kenneth Dante Murena, Esq.
                                                     Florida Bar Number: 147486


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 22, 2020, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of via transmission of Notices of Electronic Filing generated by

  CM/ECF.

                                             By:     /s/ Xavier A. Franco
                                                     Xavier A. Franco, Esq.
                                                     Florida Bar Number: 0031823


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